                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       AUG 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

CHRISTOPHER J. MILLER,                          No. 23-15597

                Plaintiff-Appellant,            D.C. No. 1:20-cv-01117-AWI-SAB

 v.
                                                MEMORANDUM*
M SOTO, Sergeant in the Investigative
Services Unit,

                Defendant-Appellee.

                   Appeal from the United States District Court
                      for the Eastern District of California
                   Anthony W. Ishii, District Judge, Presiding

                           Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.

      California state prisoner Christopher J. Miller appeals pro se from the

district court’s summary judgment in his 42 U.S.C. § 1983 action alleging

constitutional claims. We have jurisdiction under 28 U.S.C. § 1291. We review de

novo the district court’s ruling on cross-motions for summary judgment. Hamby v.


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
Hammond, 821 F.3d 1085, 1090 (9th Cir. 2016). We affirm.

      The district court properly granted summary judgment for defendant on

Miller’s retaliation claim because Miller failed to raise a genuine dispute of

material fact as to whether the search of his personal property and the issuance of

the two rules violations report were not reasonably related to legitimate

penological goals. See Brodheim v. Cry, 584 F.3d 1262, 1269 (9th Cir. 2009)

(setting forth elements of a retaliation claim in the prison context); Pratt v.

Rowland, 65 F.3d 802, 806-07 (9th Cir. 1995) (deference should be afforded to

prison officials in evaluating proffered “legitimate penological” goals).

      We do not consider arguments and allegations raised for the first time on

appeal. See Padgett v. Wright, 587 F.3d 983, 985 n.2 (9th Cir. 2009). We do not

consider documents and facts not presented to the district court. See United States

v. Elias, 921 F.2d 870, 874 (9th Cir. 1990).

      Miller’s motion for reconsideration of the order granting appellee’s motion

to seal (Docket Entry No. 22) is denied.

      AFFIRMED.




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